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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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SECURITIES & EXCHANGE
COMMISSION,

Plaintiff,

V.

AMERICAN GROWTH FUNDING Il, LLC, 16-CV~828 (KMW)
PORTFOLIO ADVISORS ALLIANCE, INC., QPINION AN]) OR])ER
RALPH C. JoHNsoN,
HOWARD J. ALLEN nl, and
KERRI L. WAssERMAN

 

Defendants.
________________________________________________________ X

KIMBA M. WOOD, United States District Judge:

The Securities and Exchange Cornrnission (“SEC” or “the Cornrnission”) sues Arnerican
Grthh Funding il and Ralph C. Johnson (“the AGF II Defendants”) and Portfolio Advisors
Alliance, Howard J. Allen llI, and Kerri L. Wasserrnan (“the PAA Defendants”) for securities
fraud under SectionlO(b) of the Exchange Act and RuielOb-S thereunder, and Sections l7(a)(l),
(2), and (3) of the Securities Act. The AGF ll Defendants have Settled. (ECF Nos. 205, 206.)

This Court’s rulings on the remaining parties’ motions in limine are stated below.

DICUSSION
I. RULINGS

A. PAA Motions in Limine
I. Motion I: Evidence Related to AGF ll’s Board of Directors
The PAA Defendants seek to preclude the SEC from offering “any evidence or testimony
on the issue of Whether the PPMS contained any false or misleading representations regarding
AFG II’S management.” (PAA Defs. Mem. Supp., ECF No. 210, at 8.) According to the PAA

Defendants, evidence related to AGF II’s purported misrepresentations in the PPl\/ls as to the

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Board of Managers is no longer relevant, because the AGF ll Defendants have settled, and the
SEC does not allege the PAA Defendants knew or should have known that these representations
were false or misleading (Id.)

In response, the SEC states it “Will not introduce evidence or testimony that the
Defendants violated the securities laws with statements in the PPl\/ls about the composition of '
AGF Management ll’s Board of l\/Ianagers.” (SEC l\/lem. Opp’n, ECF No. 220, at ll.) The SEC
argues that, “[W]hat the Dei`endants really seek is to broadly exclude ‘any evidence’ that may
somehow relate to AGF ll’s Board of Managers . . . .” (Id.)

The Court agrees with the PAA Defendants that evidence related to the alleged
misrepresentations as to AFG ll’s Board of Managers is not relevant now that the AGF ll
Defendants have settled. The SEC had alleged that the AGF II Defendants made false
representations in the 2011 and 2012 PPMS about AGF ll’s Board of Managers. The SEC never
alleged that the PAA Defendants were responsible for or aware of these alleged
misrepresentations Contrary to the contention of the SEC, the PAA Defendants are not seeking
to exclude any evidence “sornehow” related to AGF ll’s Board of l\/lanagers. lnstead, the PAA
Defendants seek to exclude evidence related to the alleged misrepresentations of job titles in the
PPMs-that is, whether the individuals identified in the PPMs actually held the job titles
assigned to them. This evidence is excluded because it is not relevant to any claim remaining in
this case. Therefore, the Court GRANTS the motion No evidence related to whether the
individuals identified in the PPMS held the job titles assigned to them will be admitted at trial,
and no argument concerning this subject will be permitted

2. Motion ll: Evidence Related to the Monthly Account Staternents

 

 

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The PAA Defendants seek to preclude the SEC from offering evidence or testimony on
the issue of whether the monthly statements sent to investors were false or misleading, because
they contend that “the SEC has never alleged that the PAA Defendants knew or should have
known that the account statements AGF ll sent to investors were false or misleading or that the
PAA Defendants were in any Way involved with Johnson’s actions in causing AGF ll to send out
those monthly statements.” (PAA Defs. Mem. Supp. at 8-9.)

In re'sponse, the SEC argues that the monthly statements, which were sent to investors
after the PPMS, are relevant to materiality because they show that “the information an investor
would have gleaned from a proper audit was not available elsewhere.” (SEC Mem. Opp’n at
13.)

lt is not clear how the alleged misrepresentations in the monthly account statements as to
the financial health of AGF ll are relevant to the alleged misrepresentations in the PPMs as to
whether AGF ll had been auditedl Materiality is determined “in light of the circumstances
existing at the time the alleged misstatement occurred.” Ganino v. Citizens Util. Co., 228 F.3d
154, 165 (2d Cir. 2000) (emphasis added); see also Spielman v. Gen. Host Corp., 402 F. Supp.
190, 194 (S.D.N.Y. 1975) (Weinfcld, J.) (“The determination of materiality is to be made upon
all the facts as of the time of the transaction and not upon a 20~20 hindsight view long after the
event.”). The alleged inaccuracy of monthly account statements sent to investors subsequent to
their investment in AGF ll is not relevant to whether the misrepresentations in the PPl\/ls were

material at the time they were macie.2

 

' Evidence related to the monthly account statements was relevant to materiality before the AGF ll Defendants
settled This is so because the SEC alleged that the AGF ll Defendants violated the securities laws by making
misrepresentations in the monthly statements themselves Now that the AGF ll Defendants have settled, the
materiality of the misrepresentations in the monthly statements is not relevant

2 This was the reason the Court excluded evidence of investor profits in its previous ruling. (ECF No. 187, at 4~5.)

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Even if the allegedly misleading monthly statements were relevant, this evidence should
be excluded because its probative value is substantially outweighed by the risk of unfair
prejudice and confusion This evidence will place undue focus on the purported wrongdoing of
the AGF ll Defendants, which entailed concealing, month after month, the status of the
investors’ investments Placing undue focus on the wrongdoing of the AGF ll Defendants-mm
wrongdoing that does not involve the PAA Defendants-presents a substantial danger of
confusion and unfair prejudicel

Therefore, the Court GRANTS the motion. No evidence related to the monthly account
statements sent to investors will be admitted at trial, and no argument concerning this subject
will be permitted

3. Motion lll: Evidence Related to the Adeduacv of the Weinberg Audit

'l`he PAA Defendants move to preclude the evidence of the adequacy of AGF ll’s audit
performed by Seymour Weinberg, including whether Weinberg examined AGF’s outstanding
loans receivables (PAA Defs. Mem. Supp. at 8-10.) The PAA Defendants argue this evidence
is not relevant because they were not responsible for hiring Weinberg to perform the audit. (ld.)

”l`he Court denies the motion to preclude Although the PAA Defendants did not hire
Weinberg, the adequacy of his audit is nevertheless relevant to the PAA Defendants’ scienter.
Before AGF ll hired Weinberg, the PAA Defendants appear to have known that a proper audit of
AGF ll would require an audit of AGF. (See SEC Mem. Supp. at 4.) After Weinberg was hired,
the PAA Defendants learned that Weinberg’s audit of AGF ll would not include an audit of
AGF. The fact that the PAA Defendants knew that the Weinberg audit would be inadequate but
took no action whatsoever suggests that, similar to Johnson, the PAA Defendants did not want a

proper audit of AGF ll because this would reveal the deterioration AGF ll’s principal asset. This

 

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evidence makes it more likely that the PAA Defendants acted with an intent to defraud by
misrepresenting in the PPMs that AGF ll had been and would continue to be audited

Therefore, the Court DENIES the motion.

4. Motion V: Evidence Related to AGF ll’s Abilitv to Repav its Loans

The PAA Defendants move to preclude the SEC from offering evidence related to the
deterioration of AGF ll’s principal asset, a loan receivable from AGF. (PAA Defs. Mern. Supp.
at 9-12.)

The Court denies the motion, because this evidence is relevant to the PAA Defendants’
scienter. That AGF ll’s principal asset had greatly deteriorated, while the PAA Defendants
continued to sell AGF ll securities under the PPl\/ls, makes it more likely that the PAA
Defendants, by purportedly misrepresenting that AGF ll had been and would be continue to be
audited, acted with the requisite intent to defraudl

The PAA Defendants are correct that evidence related to the poor performance of the
loans might lead the jury to believe that AGF ll investors suffered losses. But this potential
unfair prejudice does not substantially outweigh the probative value of this evidence as to the
PAA Defendants’ scienter. Moreover, an instruction to the jury as to the irrelevance of investor
losses or profits will lessen the potential for prejudice

'l`herefore, the Court DENIES the motion.

5. l\/lotion V: Ponzi Scheme

The PAA Defendants move to preclude the SEC from using the term “Ponzi scheme” in

argument or testimony because whether AGF ll operates as a Ponzi scheme is not relevant to any

issue in this case. (PAA Defs. l\/lem. Supp. at 13~»14.)

 

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Referring to AGF ll as a Ponzi scheme would needlessly lengthen this trial and cause
confusion and prejudice 'l`he SEC did not bring a claim in this case that AGF ll is a Ponzi
scheme Use of the term Would cause an unnecessary digression into the structure of a Ponzi
scheme and evidence and argument regarding whether AGF ll was a Ponzi scheme Referring to
AGF ll as a Ponzi scheme makes it more likely than not that the jury would conflate this case
with high-profile cases involving Ponzi schemes, even though there is no allegation in this case
that AGF ll is a Ponzi scheme Use of the term would thus confuse the jury, and its probative
value is substantially outweighed by the risk of unfair prejudice

Therefore, the motion is GRANTED. The SEC will not be permitted to use the term
“Ponzi scheme” in argument or testimony

6. l\/lotion Vl: Allen’s CRD Report

The PAA Defendants seek to exclude Allen’s Central Registration Depository (“CRD”)
report, which contains FlNRA-related disclosures, including Allen’s disciplinary and regulatory
history. (PAA Defs. Mem. Supp. at l4ml5.) The PAA Defendants argue that the CRD report is
not relevant to any claim in this case and is unduly prejudicial (ld.)

The Court agrees with the PAA Defendants that the CRD report is not relevant to any
claim in this case Moreover, Allen’s disciplinary history would likely prejudice the PAA
Defendants by suggesting that, because Allen was disciplined in the past, his actions in this
matter were unlawful. The probative value of this evidence is thus substantially outweighed by
its risk of confusion and unfair prejudice

Therefore, the Court GRANTS the motion. The CRD report will not be admitted at trial,

and no argument concerning this subject will be permitted3

 

3 This ruling does not preclude the SEC from introducing the CRD report, if appropriate for impeachment purposes
at trial

 

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7. l\/lotion Vll: Evidence of the Percentage of Revenues Earned by
PAA in Connection with the Sale of AGF ll Securities

The PAA Defendants move to preclude the SEC from offering evidence of the percentage
of revenues earned by PAA in connection with the sale of AGF ll securities relative to PAA’s
overall revenue (PAA Defs. Mem. Supp. at 16~»18.) The PAA Defendants argue that this
evidence is not relevant because it demonstrates only an “intent to profit,” as opposed to an
intent to deceive, and a general intent to profit, which is possessed by all corporate insiders, is
not sufficient to prove scienter. (Icl. at l6~»l’/'.)4 The PAA Defendants contend that allowing the
SEC to introduce evidence showing the relative percentage of revenues generated by PAA
through sale of AGF ll securities would be prejudicial for two reasons First, the jury would
conflate the PAA Defendants’ intent to profit with an intent to deceive (Icl. at 17.) Second,
relying on SEC v. Goldstone, No. 12-CV-257 (JB), 2016 WL 3654273, at *lS-l'l (D.N.M. lune
13, 2016), the PAA Defendants contend that only the revenue related to the sale of AGF ll
securities is relevant, and because evidence as to the relative percentage of revenue depends, in
part, on revenue unrelated to the AGF ll, such evidence is prejudicial

The PAA Defendants’ arguments are meritlessl First, the percentage of PAA’s revenue
derived from their sale of AGF ll securities, as compared to PAA’s other work, is relevant to the
question of scienter. PAA may well have been inclined to protect one of its major revenue
streams and thus ignore or conceal potential wrongdoing related to its sale of AGF ll securities
Second, any confusion or prejudice concerning the difference between a general intent to profit

and the required intent to defraud can be cured through an instruction Finally, Golclstone stands

 

4 'l`o support this proposition, the PAA Defendants rely on South Street Cherrj), LLC v. Hennessee Group LLC, 573
F.3d 98, 109 (2d Cir. 2009) (“But in attempting to show that a defendant had fraudulent intent, it is not sufticient to
allege goals that are ‘possesses by virtually all corporate insidel's’ . . . .”). But Sozith St)'eet Cher)y concerned the
pleading standard for scienter under the Private Securities Litlgation Ret"orm Act (“PSRLA”). That is not the
question here

 

 

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for the proposition that evidence of a defendant’s general wealth is irrelevant and prejudicial.

See icl. at 12-l7. l-lowever, the SEC is not seeking to introduce this evidence to show that the
PAA Defendants are wealthy. The rationale in Goldstone is thus not applicable The relative

percentage of PAA’s revenue generated through the sale of AGF ll securities is relevant to the
PAA Defendants’ motive and intent.

Therefore, the Court DENIES the motion. For the same reasons stated above, the SEC’s
corresponding motion, (see SEC l\/lem. Supp., ECF No. 216, at 10-11.), to permit evidence of
the relative percentage of PAA’s revenues generated tln'ough the sale of AGF ll securities is
GRANTED.

B. SEC Motions in Limine

1. l\/lotion l: Evidence of lnvestors’ Status as Accredited

The SEC moves to exclude evidence that the AGF ll investors were “accredited,”
specifically evidence that AGF ll investors had a high net worth. (SEC Mem. Supp. at 5-8.)
The SEC argues that the accredited status of AGF ll investors is not relevant to any issue in this
case (ld.) ln response, the PAA Defendants argue that evidence of the accredited status of AGF
ll investors would be relevant if the SEC offers evidence suggesting that AGF ll investments
were not suitable for its investors (PAA Defs. Mem. Opp’n, ECF No. 224, at 3-4.) In their
reply, however, the SEC states that it will not “argue that AGF ll was not a suitable investment.”
(SEC Reply, ECF No. 225, at 2 n.2.)

This motion is thus moot.

2. l\/lotion ll: Evidence of lnvestor Sophistication5

 

5 The SEC appears to use the phrases_“accredited” and “sophisticated” interchangeably (SEC Mern. Supp. at 5-8.)
However, because the two concepts are distinct, the Court construes them separately here

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The SEC moves to preclude the PAA Defendants from offering evidence of investor
sophistication (SEC Mem. Supp. at 5-8.) The SEC argues that this evidence is prejudicial
because it invites the jury to conclude that AGF ll investors “should have found out the trut ”
about the alleged misrepresentations (Id. at 7~8.)

ln response, the PAA Defendants argue that investor sophistication is relevant to
materialityl (PAA Defs. Mem. Opp’n at 4-6.) The PAA Defendants contend that the market at
issue in this case involves highly speculative, highly illiquid, private placements in an investor
pool. (Id. at 5.) According to the ?AA Defendants, a reasonable investor in this market is
sophisticated and thus would not have been misled by the representations in the PPMs. The
PAA Defendants cite United States v. Lirvak, 889 F.3d 56, 65 (2d Cir. 2018), which held that the
“[reasonable investor] standard may vary . . . with the nature of the traders involved in the
particular market.” (Id.) The PAA Defendants also contend that the sophistication of the SEC’s
investor witnesses is relevant to whether those Witnesses are representative of reasonable
investors in the market at issue. (Id.)

The Court agrees with the PAA Defendants that investor sophistication is relevant to
materiality in this case. The potential for unfair prejudice does not substantially outweigh the
probative value of this evidence Moreover, any prejudice can be addressed through a jury
instruction

Therefore, the Court DENIES the motion.

3. Motion lll: Evidence Related to “Boilerplate Cautionarv Disclosures”

The SEC moves to exclude allegedly “boilerplate cautionary disclosures” contained in
the PPMs because they are irrelevant and their introduction Would needlessly lengthen the trial.

(SEC l\/lem. Supp. at 8~»»10.)

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ln response, the PAA Defendants argue that the risk disclosures contained in the PPMs
are relevant to the materiality of audit language contained in the PPMs because the risk
disclosures factor into the total mix of information available to reasonable investors. (PAA Defs.
l\/lern. Opp’n at 7.)

The SEC’s conclusory argument that the risk disclosures in the PPl\/ls are “boilerplate” is
not sufficient to allow the Court to determine the potential relevance of particular risk disclosures
at this time. Although introduction of numerous risk disclosures might needlessly lengthen the
trial, it is not clear at this stage what evidence the PAA Defendants Will offer regarding the risk
disclosures

Therefore, the Court DENIES the motion without prejudicel The SEC may renew its
objections at trial.

4. Motion lV: Ralph Johnson’s Statements

The SEC moves to permit the introduction of two sets of out-of-court statements made by
Johnson: (l) statements made to the SEC during its investigation; (2) statements made to Stuart
Bender regarding whether Johnson wanted Bender to conduct an audit of AGF ll. (SEC l\/lem.
Supp. at 11.) 'l`he SEC argues these statements are non-hearsay under Federal Rule of Civil
Procedure SOI(d)(Z)(E), which provides that statements “offered against an opposing party . . .
[that were] made by the party’s coconspirator during and in furtherance of the conspiracy” are
non-hearsay

The SEC contends that Johnson and the PAA Defendants were coconspirators because:
(1) “‘AGF ll retained PAA to sell its AGF ll securities,’ and [] Allen and Wasserman were
principals at PAA;” (2) “Allen indirectly owned 49% of AGF ll’s management entity, and

Johnson owned 5 l%;” (3) “Allen agreed with Johnson regarding the need to complete AGF ll’s

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audits;,” and (4) “[Johnson], Allen, and PAA Worked together on the PPMs.” (SEC Mern. Supp.
at 12.)

ln response, the PAA Defendants rely on United States v. Russo, 302 F.3d 37 (2d Cir.
2002), to argue that the “general association” between the PAA Defendants and Johnson is not
sufficient to permit the introduction of Johnson’s statements The PAA Defendants point out
that, in fact, the SEC itself alleges that Johnson repeatedly mislead and lied to the PAA
Defendants about the status of AGF ll’s audit. (Id. at 14~16.) Finally, the PAA Defendants
contend that the SEC is not permitted to introduce statements Johnson made to the SEC simply
because both Johnson and the PAA Defendants were under investigation or charged with
violating the securities laws. (Id. at 16»»17.)

Whether a statement in this case meets the requirements of Rule SOl(d)(Z)(E) cannot be
determined until trial. For Rule 801(d)(2)(E) to apply, the SEC must show by a preponderance
of the evidence: (l) the existence of a conspiracy; (2) that the conspiracy’s members included the
declarant and the party against whom the statement is offered; and (3) that the statement was
made both (a) during the course of and (b) in furtherance of the conspiracy See Um'tea’ Stares v.
Trcicey, 12 F.3d 1186, 1196 (2d Cir. 1993). At this juncture, the Court is unable to determine
whether the statements the SEC intends to offer are non-hearsay under Rule SOI(d)(Z)(E) for two
principal reasons. First, although the SEC generally references two sets of statements_
statements made to Stuart Bender about an audit of AGF ll and statements made to the SEC_-the
SEC has not provided the Court with the specific statements it wishes to introduce Second,
without hearing trial evidence concerning the scope of the conspiracy the Court is unable to
determine whether the specific statements the SEC plans to offer were made during and in

furtherance of the conspiracy

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Therefore, the motion is DENIED. The Court Will resolve any further motions or

objections as the evidence comes in at trial.

CONCLUSION

This Order resolves docket numbers 210 and 215.
SO ORDERED.

Dated: New York, New York ( c ` q m M

 

April 19, 2019
KIMBA M. WOOD
United States District .ludge

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